           Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 1 of 84 PageID #:1                       tga
                                                                                                  RECEME D
                                  UNITED STATES DISTRICT COURT
                                                                                             Iocl 2t2019
                                  NORTIIERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION                                    ;dH?j$B8f#8r8ts,*,
     ANNA CTIRONIS,                                         Case Nos.:

                      Plaintffi

     vs.
                                                            CIVIL ACTION

     TAMIKA ALEXANDER, M.D.
     UIH.MILE SQUARE I{EALTH CENTER,                        COMPLAINT AND JURY DEMANI)
     CENTERS FOR MEDICARE AND                               MEDICAL MALPRACTICE/ CIVIL
     MEDICAID, DEPARTMENT OF                                RIGHTS - OTHER
     HEALTH & HUMAN SERVICES
     UNITED STATES OF AMERICAI,
                                                                    1   :19cv{6909
                      Defendants                                   Judge Mathenr F. Kennelly
                                                                   Magishate Judge Jefmey T. Gilbert

 4
 5                                              COMPLAINT

                          INTRODUCTION


               On June 8h,201'l,PlaintiffANNA CHRONIS, filed a civil malpractice

     complainf in the First District of Circuit Court of Cook County, against Tamika

     Alexander, MD, and UNIYERSITY OF ILLINOIS AT CHICAGO (DIBIAUI I{EALTH-

l0   MILE SQUARE) pursuant to 735ILCS               g512-622, the Healing Arts Malpractice Act,

l1   alleging: 1) Professional (Medical) Gross Negligence/Breach of Care Causing Physical




     I Plaintiffassumes US Attorney   will   be consistent and issue another replacement Order.
     2
         Cook County Circuit Court Case Number 2017-Ml-301tg6
                                                        I
         Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 2 of 84 PageID #:2




     Injury, 2) Willful Misconduct and Willful Negligence 3) Malicious Intent/Delay of Care

     by Obstructing Due Process.3

             On August 4,2017, the Government removed the case to the Northern District                 of

     Illinois, Eastern division, and filed a substitution order on August 10,2017, thus having"

     certified University of Illinois Mile Square Health Center and Tamika Alexander, M.D.

     as "a pfiygle entiff, receiving grant money from the Public Health Service pursuant to 42

     U.S.C. $233"    [Dh. No. IB]4. OnAugust ll,2}l7,the            Judge,   Amy   St. Eve, issued an

     order instructing the parties to use MIPS to resolve their dispute. On the same day, The

     U.S. Department of Justice, moved to dismiss the complaint on grounds that Ms. Chronis

10   did not present an administrative tort claim to the Department of Health and Human

l1   Services, prior to commencing her litigation. Ms. Chronis filed an Objection to the

t2   Motion to Dismiss on August 17,2017. The District Court granted the government's

13   motion, [Dkt. No. 20, Exhibit B] was entered on September 8,2017. The order maintains

t4   that proper administrative appeals have not been exhausted with the relevant asency. thus

l5   dismissins the complaint without Preiudice. Ms. Chronis successfully noticed her




             3
               Under the Medical Corporations Act, LIIH HOSPITAL is vicariously liable for the
     negligence of a physician who is the apparent agent of the hospital or medical corporation Gilbert
     v. SycamoreMunicipal Hospital, 156111.2d511,622 N.E.2d788, I90lll.Dec. 758 (1993);Yorkv.
     Rush-Presbyterian-St. Luke's Medical Center, 222 lll.2d 147, 854 N.E.2d 635, 305lll.Dec. 43
     Q0Aq. Accordingly, the Cook County Court of the State of Illinois had jurisdiction over this
     matter pursuant to Article VI, section 6, of the Illinois Constitution and Illinois Supreme Court
     Rules 301 and 303. Ill. Const. 1970, art. VI, $ 6; I1l. S. Ct. R. 301 (eff. Feb. 1,1994); R. 303 (eff
     Jan. 1, 2015). The filing was timely as stipulated by 735ILCS 5/13 - 202.

                     a
                      Dockets have been filed under Exhibit A for the Federal District court Case, the
     76 Circuit of Appeals and the Cook County Court if interested parties want to reference previous
     documents referenced in the predecessor cases.
                                                       ,
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 t   Appeal of the Order on October        ll,201l. The Key issue was whether the submission by
 z   Anna Chronis to CMS on November 7,2015 constituted a claim tlrat would satisfu the

 :   four requirements under FTCA for a valid tort claim.

 4          On29 luly 2}lg,the        7m   Circuit of Appeals affirmed the lower court's decision,

 s   and on September,20,2019 filed a Certified Copy of the Opinion Recorded. [Exhibit E]

 6   In accordance with the court ruling and the Equitable Tolling of the time to file via the

 z   Administrative and legal proceeding, Anna Chronis, having Exhausted her

 8   Administrative Remedies is      refiling her Medical Malpractice and Civil Rights case

 s   against Tamika Alexander, UI Health, the Center for Medicaid and Medicareo and

l0   the US Department of Health and Human Services in Federal Court.

1l

12               II.       JURISDICTION AND VENT]E


t3                     Via Ms. Chronis' Civil Case Filing and Appeals Process we found the

L4   UIH Health deemed      a   "Federally Qualified Health Center", and with all Administrative

15   Appeals Exhausted [see Exhibit C, and Procedural Summary           -   Administrative Procedure

l6   in Section III-B of this complaintl, the Northern District of Illinois     has   jurisdiction to

t7   hear this case under 42 U.S.C. $233 and 28 U.S.C. $$ 1346(b) and2672 and under 42


l8   U.S.C. $1983 as the sole remedy for damages for personal injury from the performance

19   of medical or related functions for any Public Health Service Employee acting within the

     scope of his or her office or employment is the Federal Government.
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                        The Filing is timely, as stipulatedby 735ILCS 5/13-202. The medical

     malpractice case ih State Court was filedih State Court within2 years of the-Incident

     with all appropriate and necessary documentation (See Docket in Exhibit A for Cook

     County Case20l7-301196). Upon certification and removal, in accordance with 28

     -U.S.C.
                 ehapter mr"Il.S.C. $2679(dX, under $2a0f@)Ms. Chronis filedher curative

     Administrative Claim on October 30,2017,within 60 days             of Judge   St.   Eve Sepember

 7   8,2017 dismissal without preiudice to the appropriate federal agency, DHHS within 60

     days ofdismissal of the       civil action while in parallel pursuing'her Adtninistrative

     Appeal.5



10               All Final Determinations from the Deparfinent of Health and Human Services

ll   Iiom the Torm 95 fifing"by Ms. efuonis on October 26t'"2Afi6 are include d in Exhibit C,

t2   of this Complaint. On October 31, 2018,as the Appeals case moved forward, the DTIHS

13   denied Ms. Chronis' claim. On April 30m, 2019, per Instructions from the Department            of

t4   Health and Human Services, Ms. Chronis' in a timely manner, given the "mail box ruIe",

15   filed   a   Motion for Reconsideration. That Motion for Reconsideration was denied

16   (Exhibit C,letter from DHHS dated August 7,2019). allowing Ms. Chronis, the final




                        s
                       Per Westfall, Ms. Chronis filed her Administrative Appeal in accordance with
     the laws governing the equinble tolling exemptions for FTCA dismissals due to the exhaustion of
     Ada$nis-tratiy e Optiara
                        6
                            Received by DHHS on October 30,2019
                                                       4
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 1   exhaustion to file her claim in Federal Court, within 6 months of the "final denial of the

 z   Reconsideration".



                           PROCEDURAL HISTORY


         A. Litigation llistory

             On June   8&,2}l7,PlaintiffANNA CI{RONIS, filed a civil malpractice complaint

     in the First District of Circuit Court of Cook County, against Tamika Alexander,'MD--,

 7   and UNIVERSITY OF        ILLINOIS AT CHICAGO (D/B/A UI I{EALTH-MILE

 8   SQUARE) pursuant to735ILCS 5512-622, the Healing Arts Malpractice Act, alleging: 1)

     'Professional (Medical)'Gross Negligenceltsreac*r of CareCausing.Fhysieall{ury, 2)

l0   Willful Misconduct    and   Willful Negligence 3) Malicious IntentlDelay of Care by

ll   Obstructing Due Process. The filing was timely as stipulatedby 735ILCS 5ll3 -202.


t2           On August   4h,2}l7,UIH Health's afforneys, Arnstein & Lehr filed an

13   appearance in State   Court on behalf of Lru Hospital and removed the case to Federal

l4   Court, designating the clinic and the provider as a "Federally Qualified Health Center", a

l5   designation that Ms. Chronis had challenged due to a) the failure to represent themselves

16   as such, b) the administrative procedures that they demanded that      all ofthe plan

t7   partiei.pants fol'low that are ineonsistentwith prorriders ttrat are.Designated ':Federa['h

l8   Qualified Health Plans".


l9                  On August l}th,2017 the Federal Government filed a "substitution

2A           The' Case'was frled under   thited   States District "Court Case   Numter 1 7 C 5838
          Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 6 of 84 PageID #:6




 I   and assigned to Honorable Judge St.   Eve. On August 11h,2017 the US DoJ filed a

 2   Motion to Dismiss due to alackof Exhaustion of Administrative.Remedies. On August

 )   l7,fi,2Ol7,Anna Chronis filed an Objection to the Motion to Dismiss filed by the US/

 4   DoJ.

                      OnSeptember 8,2077,UnitedDistrict Comt Judge Amy J. St. Eve issued

     a   final opinion exercising the jurisdiction the court had under 28 U.S.C. $1346@)(1) and

 7   dismissed Anna Chronis' complaint without prejudice on September 8,2017 [Exhibit B].

 I   The district court granted the Government's motion, determiningthat Ms. Clrronis had

 9   not contacted the "appro pnate federal agency" , in this case the Department of Health and

l0   Human Services, and that CMS believed it was responding to Chronis' "professional

l1   -regulation allegations'and not'an a&ninisfrative.clai'm". Chronis   t.   United State;s, I{o. 17

t2   C 5838, 2017 WL 6462346 at *2 (N.D. ILL Sept. 8, 2017). The District Court also

l3   concluded that, even if Ms. Chronis had properly presented a claim to the appropriate

t4   federal agancy, she failed to atlege thatthe agency tmd deniEdher elaim       -   as   reqtrired

15   under the FTCA. 1d.

16                   On October 6,2017, Anna Chronis timely noticed her appeal. The

     Seventh'Circuit of Appeals hadjnrisdicti'onr to-hear and did hearthe appeal under 28

l8   U.S.C. $1291 under Case Number 17-3093.


19            On March 26,2018 the 7ft Circuit Court of Appeals issued an Order after having

20   "reviewed the appell.ant's pro se brief the appellee's response, and the record on appeal,

2t   the court determined that it would benefit from Additional briefing and Oral Argument in

22   accordance with R. APP. P. 3a@)Q)(C). Specifically, the court requested additional
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      briefing on whether the November 8, 2015 letter to the Centers for Medicare and

      MedicaidServices c.o'tlstitutedthat Ms. Chruris was conternptattng suit and if 'lMs

      Chronis was entitled to treat any properly filed administrative tort claims as denied, thus,

      exhausting the Administrative process.


                The Plaintiff, Anna Chronis and her amicus counsel, GIBSON, DIINN,        &
      CRUTCIIER LLP, argued that Ms. Chronis had satisfied the requirements of FTCA

     under28U.S.C. $2675(a)and28 C.F.R. $1a.2(a)byherNovember 7,2015 submission

     to the Centers of Medicare and Medicaid Services ("CMS") and the attachments that

     contained the original complaint for damages filed with UIH Health perthe procedures

     out.l-ined ia the Member Llandboolc. and   Manual

ll              The Appellate Court was asked to decide, whether during the time in question in

t2   the case, if the UlHealth from June 2015 to June 2}l6,had the delegated authority to give

     aflnatdeterminatiouunider,CFRS0, mrmber lO4T,andwhether.CMS was the apropriate

t4   agency to escalate an Administrative Tort instead of the Department of Health and

l5   Human Services, thus given the totality of the correspondence, the hospital and the state

t6   and federalregulatory agencies, that Ms. Cltronis had exfiausted her a&ninistrative

t7   options.




             7 The Rule in the federal regulation
                                                  was promulgated under the authority granted the
     Federal Government Agencies under the "Affordable Care Act (..ACA,,), lz4 stair rg,zolo,
     P.L. 111-148.
                                                    7
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     I            On July 296,2019 the Court issued a 2-1 ruling against Ms. Chronis, affirming

 2       thelbwer court's decision, that only the Department of'Flealth and'Human Services was

     :   the sole appropriate agency, with which to file an Administrative Tort with the plaintiffs,

 4       as such, Ms. Chronis did not exhaust her administrative options before        filing her FTCA

     s   Claim.

 o                On September 20,2llgthe issued a mandate and filed a Certified Copy of the

 t       final Judgement issued fuly      29,2AD.   Iv{s. Chronis,   re-filed her case within 30 calendar

 I       days and within 20 Business Days of a Certifred Copy         ofthe Opinton from the USCA for

 s       the 7ft Circuit Argued on May 29,20lg and decided on July 29,2019. Ms. Chronis is a

lo       non-ElectronicFiler.

tl                  Ei,.CUBATT_VE AD!{UYISTBATWE                pBggEss ExEAusTED"
t2                on october 24,20l7,Anna chronis submitted           a   Form 95 and the   civil
t3       Complaint/Pleading filed withthe First District Court of Cook County on June gth,z}t7

t4       totheDepurtment of Health audllumanservices andreceivedareply from theClaims

15       Division of the Office of General Counsel in Washington D.C. dated November S,2Ol7.

l6       The Administrative Tort claim was filed under claim No. 20lg-0052.


17                A formal letter denying Ms. Chronis' claim was received on October 31, 2018.

l8       [Appeals   Dk z2,Exhibit   C].
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              All Final Determinations from the DHHS resulting from Ms. Chronis' the Form

     95 fifing by Ms. ehronis on October26tu.2fr7f are includedinExhtbt C, of this

 J   Complaint. On October 31,2018,        as the Appeals case moved     forward, the DHHS denied

 4   Ms. Chronis' claim. On April 30fl',2019, per Instructions from the Department of Health

     and Human Services, Ms. Chronis' in a timely manner, given the "mail box rule", filed a


     Motion for Reconsideration. That Motion for Reconsideration was denied (Exhibit C,

     letter from DHHS dated August 7,2019). It was filed in a timely manner, as Ms.

     Chronis'Response andproof ofservice indicates in her letter to theDepartment offlealth

 9   and Human Services dated August 17'e,2019 (Exhibit C, Letter from Chronis to DHHS).

l0   One can only speculate that DHHS has no intention to "resolve this claim" and did not

1l   want to move forwardoutside a court      oflaw.     Given the-[anguage ofthe letter, M-s.

t2   chronis, whose filing for Reconsideration was timely (Mailed on April 3ot',2019),

t3   considers the text of the letter on August 7,2019, as Rejecting her claime, allowing Ms.


t4   Chronis, the final exhaustion to file her claim in Federal Court, as it is within 6 months      of

l5   receipt of that letter.



l6                rv.      STATf,MENT OF THE FACTS OF THE CASE / COMPLAINT




                      8
                       Received by DHHS on October 30,2Ol9
                     e
                       It is clear that the DI{I{S did not intend to move forward in good faith to
     resolve the elaim and asof Oetober I7fi,2AI9, M* Chronis hasnot reeeived a-response to her
     August   l7,20l9letter.
                                                     9
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             On June 8, 2015, at        11:   15 a.m., as scheduled,   TAMIKA ALEXANDE& MD

     performed a'lroutine" FAP smear; urhich resulted in a vulvrr                 mtusim,         caus'ing pain

     and suffering, and necessitating further qualified medical care by a licensed and certified

     OB/GYN at another facility. The vulvar contusion was diagnosed by AZRA

     SADIKOV{C, }vD; aBoar'dCertifiedlicensed.Fhysician andsurge'on spcia}izingin

     Gynecology licensed by the State of Illinois (License Number 036128491 &336093249)

     after an Examination on July 1,2015. The final report regarding the incident is dated

     9121/n'15 and is enclosed along witlr the original certification letter.attached to the

     original Cook County Complaint in Exhibit D.


l0          A. CONTACT WITH UIH HT'ALTH

11          After dozens of verbal complaints and phone calls for fbllow up medical care, that

t2   were ignored, a.fter a June 8tt', 20l5tL visit to Doctor Tamika Alexander, resulted in

t3   vaginal contusion, ANNA CI{ROMSrO filed several oral(61912015 to 8ll6l20t5) and

l4   written complaints and communications (812612015 to211912016), as directed within the

l5   Member Handbook, during the period from and received what the Plan Administrator

     claimed were final letters, thusshe pursuedcivil litigation withia the time.frame a-Howed

t7   by law, as she was misinformed that her Administrative Options were Exhausted.

l8          After three calls with the customer service department on August 4e, and August

t9   5ft 20'15, Jcheck dates] withtlre Complaint intake departrnent confirmedthe instructions




            r0
                 Referred to as eitier Plaintiffor Appellant in the remainder of this document.
                                                           l0
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     in the Member Handbook.lr On August 26, 2015, after obtaining allfinal medical bills

     fromthe remedimive care, required as a direct resutt of Tamika Alexander's Negligence,

     and within 90 days of the Incident, Anna Chronis submitted a claim to the WH Health

     Plus Grievance Department c/o Meridith L, the person she had spoken to on August              4th


     and   5th.


           On October 17,2015, Plaintiff received a letter from Mark C. Potter, MD, the Medical

     Director of the "UI Health Accountable Care Entity". Potter subsequently avoided all

     phone calls and efforts to'ltake-him up ou the offer of a prsonat meeting", resp-ouded as

     follows to my written complaint [Doc. 10, pp78-81; App.A9-Al l], emphasis added.:


l0                        "Regarding your request for records of this grievance, the
11         Ietters that you have sent to as, and the letters we have sent to you are the
T2         recorrts ofthh g=fievancrc.

l3                       Regarding further formal responses to your grievance letters,
t4       the letters you have received from Mr Fuchs and referenced in your letters
l5       are the final resnonses of UIH Plus throush our grievance process. If you
t6       choose to make an appeal to the fllinois Department of Health and Famity
t7       services, instructions are included on the page of your ur Health phis
18       member handbook that you copied and sent to us as 6(Exhibit P'with your
l9       letter to Chris Fuchs dated September 24r20l1.t
2A
21            Mark Potter, MD, the Medical Director of the "UI Health Plus Accountable Care

     Entity" I Dkt. l0,p 48-52; App.A9-Al1] did not direct Anna Chronis to the Deparunent

     of Human Services, or to any Agency ofthe United states Government.




              rr I have omitted complaints
                                           with the Illinois Deparfrnent of Financial Regulation as that
     is merely to file a Professional complaint against a doctor and as they remitted to me via e-mail,
     they do not adjudicate or provide compensation for torts or reimburse expenses resulting from the
     actions of the "Professionals they regulate.
                                                     t1
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                 OnNovember27,2015, [Doc 10.p.59, App.Al2 ], ANNA CHROMS received

         anotherletter from Chris Fucfus,the':Grievance Coordinatmof tlt-Flealth.Ftus", f{om.

         letterhead clearly marking the Program's character   -   University of Illinois Hospital   &
         Health Science System, Managed Care, acknowledging the receipt of my letter dated

     5   November 2, 2077 fDkt 70, p 7 5-771 and informing Ms. Clrronis that the so,called

         Grievance Committee had denied her claim. This correspondence did not include any

         enclosures or appropriate appeals procedures, despite the clear statement that Ms.

         Chronis was 'lpnrsuing disciptinary action via Medical Association-bodies, os wetl as

         through litigation".

l0               UIH and its so-called Grievance Committee to which Mr. Fuchs referenced,

lt       violated the'Fair Hearing.Frovisions, the Notieing of-Ftearing'kovisiofl, and-ftderal law

t2       of due process by failing to provide appropriate appeals procedures. It was both

13       Christopher Fuchs and the Member Handbook that had consistent but inappropriate and

t4       illegat guidance; in violatiou of the Due Process provisions that govern'lFederally

15       Qualified Federal Health centers" and Medicaid programs in General.

l6                                       B. CONTACT WITH CMS
                        on November 7,2o1s, ANflyA crTRoMs filedawriuen eomplaint

18       regarding the failure to receive appropriate remediation and due process which included

t9       the initial complaint with claims information sent to the Grievance Department with two

         officials at CMS, GwenSamlnon, theDeputy Regional Adm'inistratorfor,Chicagq and

2t       Andy Slaviu the Acting Administrator for the Centers of Medicare and Medicaid

         Services [Doc. 10,71-74, App. A15-A18]. While the law states that it is the fiduciary duty

         of those whoAdministerthe Medicaid'Pro'gram toprovide clear;transparent, andtimely
                                                  t2
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     processes and procedures so a claimant can receive restitution, never in the series   of

     cortespondetrce with att the relevant gover.rmrent agencies tistedin'the'Federal'Registerin

     2015 and 2016 did,ANNA CI{RONIS receive any information regarding filing a claim

     under the FTCA, form 95 or any direction on howto move my claim forward as required

     by law. ln fact instead of responiding widr the appropriate direction Adjudicating the

     Matter, all involved either detracted, claimed ignorance, and failed to provide the

     guidance that is required by Federal and State Law.

            In the secondp'aragraptr of Ctnmis' November 7,2015letter to CMS, Ctronis

     alleges that Dr. Alexander had committed "malpractice and gross negligence".

l0       On January 7,2016, Ms. Chronis received a final letter from CMS on her complaint

l1   datedNovember 7b; Ms. Clronis theuengagedinan e-mail exchangewith members of

t2   CMS over the next two months. When pointing out the Appeals Mechanism in the

13   Manual had been shut down, and the information was incorrect, no further information

T4   was given to atlow Anna Chrffilis to proceed in any other venus but the State Court.

l5      On Monday, October 23,2017, ANNA CIIROMS visited the HHS Region V office

t6   at233 North Michigan Avenue. At or about 2:45pm, Verlon Johnson, Acting Regional

t7   Director ofRegionV, Health andHum'anservices, Suite 1300; directedme toPeter

t8   Bandemer, Executive Director of CMS Suite 600. Both affirmed that CMS was the

19   appropriate agency to file the Medical Malpractice Claim given the plan structure.

        At altpoints intheprocess, the tll+Ie.elth andCMS failedtoappropriately instruct

27   Ms. Chronis on how to file her complaint, her appeal and her rights under Fair Hearings

     provisions that govern Federally Qualified Health Plans.



                                                 l3
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                V.         F'ACTS COMMON TO ALL CAUSES OF ACTION


 ,)
          1.        Plaintift ANNA CHROMS, is a United          States Citizen and legal resident

 J     of Chicago,Illinois, a Cook County Municipality.

 4        2.        Defendant, TAMIKA ALEXANDER, IrzD, is employed by a division                 of

 5     the Board of Trustees of the University of Illinois, doing business as UIH-MILE

 6     SQUARE I{EALTH CENTER, located at the at 4747 West Cermak Road, Cicero,

 7     IIIII,eor,poration(reft rredherei'na.fter':LIIHHOSPIT,&L).


 8        3.        UIH Hospital is   a   non-for-profit corporation organized and existing in

 9     pursuant to the laws of the United States, and with principal place of business in Cook

10    .County,'Illinois.


11        4.       Defendant. TAMIKA ALEXANDER. MD is a physician with a specialty

t2     in Obstetrics and Gynecology, licensed (#036 1288 64, 336090441) to practice

13    medicine in and by the State of Illinois and has a principal place of business in Cook

14    County, Illinois.


l5        5.       Defendant TAMIKA ALEXANDER, MD was employed by UIH Hospital

16    at the time of the Incident on June 8, 2015.


T7        6.       At all times herein mentioned, the defendants were, and now are

t8    physici.ms anda&ninisftators,-holdingthemselves out as du'ly tieensedtopractiee

19    their profession under, and by virtue of, the laws of the State of Illinois, and were and

20    now are, engaged in the practice of medicine in the State of Illinois.


                                                    t4
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         7.       Defendants, TAMIKA ALEXANDER AND UIH HOSPITAL, were at all

      times herein mentioned, duly organizedlllinois corporations existing under; and-by

      virtue of, the laws of the State of Illinois, that the Defendant Corporation (UIH

      HOSPITAL) owned, operated, supervised, managed and controlled the Clinic at4747

      West CermakRoad,.Cicero, Cook County,Illinois andthe.GeneratHospitatfaeility

      and headquarters at722 West Maxwell Street, Chicago,       Illinois 6A612, andthe UIC

      College of Medicine, Department of Family Medicine, 1919 West Taylor Street,

      within Cook Counify, theStete of Itlinois, held out to theptrbtic at large, and

      specifically to the Plaintiff herein, to be as properly equipped, fully accredited,

10    adequately staffed by qualified and competent personnel, and efficiently operated and

11    a&vrinistered acereditedhospitals insaidcommrxrity, asp*rysici'ans andlic.ensed

t2    administrators of healthcare services.


t3       8.       UI Health was the Plan Administrator forthe UlHealth Insurance Program

t4    as such.they   arefully accountableandtiableformaintaining andcirculating an

15    appropriately correct Member Handbook.


l6       9.       Plaintiffis informed   and believes and alleges, that each of the Defendants

77    sued'herein is-responsible iu some manner for.the events and happnings heretn

18    referred to, thereby causing injury and damages to the Plaintiff as herein alleged.


19       10.         Each and every Defendant named herein, were acting withintheir

      employnrcrfi, as theagents, ser.vailts, employees, joint-venttrrepartners, andco-

2t    partners oftheir said co-defendants, and as such, each and every defendant as


                                                 l5
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     I    aforesaid, when acting as a principal, was negligent in the selection, hiring, training,

 l,       and supewision of every other defendant, as its agent, servant, ernployee,   joint-

 J        venfurer and partner.


 4           11.       Under the Medical Corporations Act, UIH HOSPITAL is vicariously

 5        liable'forthe negligence of a"physiciau.who is the apparent agent ofthe ho'spitat or

 6        medical corporation Gilbert v. Sycamore Municipal Hospital , 156lll.2d 511, 622

 7        N.E.2d 788, 190 Ill.Dec. 758 (1993); York v. Rush-Presbyterian-St. Luke's Medical

 I        Center, 222ltt.2d 147 ,854l\LE.2d-635, 305 fH,Dec. 43 (2006\.


 9                                    FIRST CAUSE OF'ACTION

10       PROFESSIONAL (MEDICAL) GROSS NEGLIGENCE / BREACH OF CARE
1l                       CAUSING PEY$ICAI, tr{JUBY
t2                                (Medical Malpractice 735 ILCS 622(a))

L3           12.      OnJune 8,2015, at 11:15 a.m., as scheduled, TAMIKA ALEXANDER,

t4       ItfD'performed atoutine FAP smear, which resulted in a vulvar c'ontusion, causing

l5       pain and suffering, and necessitating further qualified medical care by a licensed and

l6       certified OB/GyN at another facility.


tv           13.      Plaintiff, Anna Chronis, had never in her life, including anytime prior to

18       June 8, 2015 suffered any pain or vaginal discomfort. and has no documented medical

l9       history of such an ailment that would require medical treatnent prior to June 8, 2015.


20           14.     The vulvar contusion was diagnosed by AZRA SADIKOVIC, MD, a

2t       Board Certified Licensed Physician and Surgeon specializing in Gynecology licensed

22       by the State ofrllinois (I-icense Number,036tz849l &,336093249) on July         l,zflls.
                                                  l6
     Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 17 of 84 PageID #:17




          15.     Based onthe Medical Findings by       AZRA SADIKOVIC, MD and               as


      docum'anted by ftnat medical 'recor'ds attactred via   Affidavit   as   reguired by 735'ECS

      622(a),there could be no other cause of injury. An Affrdavit with the AZRA

      SADIKOVIC'S medical findings have been filed with the Court per the Medical

      Report submittedtothe.Conrt andatfachedtothis Complaint as 'lEx*ribit             Ef'. As this

 6    is from the treating physician, it satisfies the conditions set under under 735 tr-CS 512-

 7    606 thus satisfuing the requirement pursuant to 735 ILCS 512-622(a)(2)thatmay be

      deposed during discovery, the -filiug of record fulfrtls the -requirement.


 9        16.     It should be clear to any lay person, that aroutine         Pap Smear, should not

l0    cause a vulvar pain, or a vulvar contusion.   All other potential sources were ruled out.
11    It is solely deviation from the proper medical standard of patient        care that was the

t2    direct and proximate oause of injury.


l3       17.      Defendant TAMIKA ALEXANDER'S actions at what should have heen a

t4    routine pap smear on the June 8, 2015 were negligent, i.e. below the standard of care,

l5    deliberately and willfully injurious, and resulted in immediate discomfort and

      sustained physical pain for.weeks.


t7                              SECOND CAUSE OF ACTION
l8                 WILFI]L MISCONDUCT/ WILFUL NEGLEGENCE
l9                                     (73s rLCS 2-1704)

         18.      Plaintifl Anna chronis, attempted to call TAMIKA ALEXANDER, MD

2t    to discuss the issue, however, several times, however, TAMIKA ALEXANDER
           Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 18 of 84 PageID #:18




     1       refused to take Anna Chronis' call or retum several messages, over the period of two

 2           weeks.


 3               19.       Unbearable pain, an in-ability to sit without a pillow, was exacerbated as

 4           pain increased during ANNA CI{RONIS' menstrual flow, from June 19th
                                                                                               - June 25th,
 5           2015, which irritated the contusion caused by TAMIKA ALEXANDER'S actions on

 6           June 8, 2015.


 7               20.       From June 9th through Iwrc26th,2015 inclusive, not one doctor from the

 8           UIH Health System would return ANNA CHRONIS' call to discuss her complaint, or

 9           to allow ANNA CIIRONIS to make an appointment to see another in-network

IO           practitioner. BasedonANI.{A C}RONIS' .Insurance'Choice,.there was-no other

ll           option for Insured Services until January 1,2016.


t2               21.       Dr. Alexander's abandonment, refusal to fieat, call or speak to the patient

I3          tegar'dingthepain and subsequCIrt injury incuned-from firtrat should have bgen a

L4           "routine" Pap Smear and examination violates the standard of care enshrined in

t5          Illinois Law.r2


l6                         Instead, of taking remediative, actions upon making a verbar complaint

t7          regarding TAMIKA ALEXANDER's lack of attentiveness and LACK oF




                 12
                    Churchv. Adler (1g53) 350ltl.App. 471, I I3 N.E. 2d 327 applies to post-operative
         complications, injuries resulting from "routine procedures" also fall under the same standards   of
         fo"Upw,uB cars.

                                                         t8
       Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 19 of 84 PageID #:19




        ADFIERENCE TO A PROFESSIONAL AND RESONABLE STANDARD OF

        CARE, the tI{I{ Health System engaged in a sustained ffid deti.berde effort to obstruet

        health care delivery, causing mental anguish and a delay of care further exacerbating

        anxiety, and mental stress in additional to the physical pain caused by TAMIKA

        ALE)CENDER'S direct acti.on.


            23.       The Defendants, as defined in SectionT35 ILCS 2-l704,based upon

        negligence, any defendants found liable shall be jointly and severally liable.


            24.      Ms. Chronis remains traumatized from the experience and refuses to have

        another Pap Smear solely from the fear and mental anguish emanating from Doctor

t0      Alexander?s tr€atflent and, thus may compromise her h'ealth inthe-futtlre.


ll                             THIRD CAUSE OF ACTION -
t2        Failure to Provide Due Process in Accordance with the Obligations under 42
l3                  U.S.C.A $ 19ffi13 and the Rules Drafted Under the ACA
t4
l5       A. Failed to follow fair hearing proceedings
t6       B. Failed   to have accurate information inthe Member Handbook




             13
                Maine v. Thiboutot 448 U.S. I No. 79-838, Supreme Court of UM ruling alfirmed a
     broad interpretation of Title 42 U.S.C. $ 1983, o'given that Congress attached no modifiers to the
     phtase". The expansion of the use of $1 ofthe Civil Rights Act of 1871 to apply to all programs
     of the Social Security 491, insluding the "Medicaid Expansion" implemented in 2014. The
     fundamental elements of the Medicaid Appeals System were detailed in the Goldberg v.
     Kelly 397 US 254 (1970) decision, and all state and administrative appeals should meet
     this standard for notice and hearing .In Goldberg, the Court held that states must afford
     public aid recipients evidentiary hearings and due process which included the rights to 1)
     present evidenee, ?) to be heard oral.l,y in person or thought eounsef or 3).eross exarnine
     adverse witnessesl3. While the ease speoifieally applied to tennination of benefits,
     subsequent cases have extended the due rroi;rr provision.
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      C.       Failed to enclose correct due process and appeals procedures in Correspondence


 2                                A.     Failed to follow Fair Hearing proceedings


 J             25.       All Civil, Procedural    ,and Fair Hearings Rights are    fully applicable to a

 4    Federatly'QualifiedHealth Center, operating during the time'frame iu question as a

 5    Managed Care Organization or ("MCO") in this Case, UI Health, violated the Fair

 6    Hearing Provisions of the ACA, the Due Process Clause of 42 U.S.C $1983, and the

 7    following'rules govenringMedicaidN{Cos: ICRs RegmdingFair Hearing Froeesses

 8    ($   $ 43 I 20 5(e), 43 I
                   .              .206(bX4) and (c)(5), 43 I .210, 43 t .221(a), 43 1.224(a),

 9    43   1   .232(b), and 43 1 .2a0(c)).


l0             26.     Instead of offering real due process, UIH Plus engaged in a Sham Review

11    as documented by Christopher Fuchs on November                27,2015 lExhibit F] that failed to

12    give notice of the proceeding in front of the "UI Health Plus Grievance Committee",

l3    as required by 42 C.F.R. $431.210,           TO ANNA CI{ROMS ANNA CHRONIS or to

14    appear in person or telephonically to present her case. Never did anyone at               UI Health

l5   Plus, ever speak to       ANNA CIfi.ONIS, prior io this       sham hearing.



16             27.     No Administrative Process can be "arbitrary and capricious" and deprive a

t7    Citizen or Legal Resident of the USA of Due Process. 42 U.S. Code 9300 gg-19

I8   m-andates that alt      grouphealthplans shatt have an effective appe.als-process, atlow an

19   enrollee to view their complaint or "file", and to present evidence and testimony as

20   part of the appeals process. This was codified $2719 of the ACA into law states that



                                                        20
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         non-ERISA Insurance Plans, including MCOs, must comply with its Due Process

 7       Provi sions Following provi sion:


 J        (1)   In general
 4        A group health plan and ahealth insurance issuer offering group or individual health
 5        insuranee eoverage Sdl imple,raent aa.effective appeds proeess,for appeds of eeverage
 6        deterrninations and claims, under which the plan or issuer shall, at a minimum-

 7        (A) have in effect an internal claims appeal process;

 8       (B) provide notice to enrollees, in a culturally and linguistically appropriate manner,   qf
 9       ayilitaUb ate+ql r'1d e-te'nnt n

l0        (C) allow an enrollee to review their file, to present evidence and testimony as part of the
11       appeals process. and to reccive continued covorage pending the outcome ofthe appeals
t2       process.


13              28.     ACA $1902(a)(3) requifes a State Plan Struotured         as an   MCO provide an

t4       opportunity for a Fair Hearing to any person whose claim for assistance is denied or

t5      not acted upon promptly. The "I-IIH Health Plus Grievance Committee" Process led

r6      -by c*nistopher Fuchs     andhis 'eGrievailce commified', as-docum"ented in his

t7      November,2T ,2015 letterra failed to comply \vrth 42 CFR 9431. 206 that Christopher

l8      Fuchs documented in the letter by Ms. Chronis failed to comply with noticing

        provisi.ons nor didthey provide Ms. Clnonis:         t) notice ofthe   date of the hearing

20      board, 2)the Opportunity for Ms. Chronis to present evidence, 3) the ability to appear




                      ra
                         Letter Dated November 27,2015 filed as part of Dkt 10, Opp. To Motion to Dismiss,
     in case #17-c 5838 filed 08ll7ll7 page 22 of 59 Page D #sz, from chris Fucfj.
                                                       2t
       Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 22 of 84 PageID #:22



        in front of the Grievance Committee, in person or telephonically. No legal counsel,

        was present and we cannot even corf'r'm             if   an actuat meeting took-place.


 J           29.        The Managed Care Organization, and when applicable under this statute,

 4      the State Agency Governing Medicaid (in this case FIFS) has a duty to apply 42 C.F.R

 5      $   431.206(b)(l) Informing applicants and beneficiaries:


 6             (1) Of his or her right to a fair hearing and right to request an expedited fair

 v           hearing.

 8                           B. Failed to have accurate information in the Member Handbook

 9           30.        UI Health, and CMS failed to Provide Appropriate Instruction in the

t0      Member.Handbook6 lex*ribit f ] orby their,customer service department or eny

ll      written correspondence by Michael Potterl6 or Christopher P. Fuchs. If one has an

t2      Internal Process, it is still incumbent on them under the FTCA to appropriately instruct

13      in atl materials, how'to adjudicate a'federal claim for a'?ederal'ly QualifredHealth

14      Center, Receiving Federal Funds". Member Handbooks from Blue Cross BIue Shield

l5      and other MCOs who receive federal funding and have Medicaid Managed Care

l6      Programs explicit$ direct all parties tothe'eappropriate&gency", somethingtll-Healtli

t7      in its member material in Calendar Year 2015 failed to do.




                        15
                             Relevant page of Member Handbook filed as part of Dkt. Page 2l of 59, page ID #51
                        16
                             Letter Dated November 17,2015 filed as part of Dkt 10, Opp. To Motion to Dismiss,
     in Case #17-C 5838 filedO8/l7ll7 pages 37 to3SPWID #67-69
     Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 23 of 84 PageID #:23




          31.     The law dictates in Sexual Harassment and in recent in Health Insurance

      Cases, mostrecently        in King l/ersus       BIue C'ros;s Bt*e ShietdT, [Citation]., opinedthat

      the "SPD" or Member Manual as the Appropriate document for a Covered Member to

      rely upon, not what we can find on the "internet", remains the Evidentiary Standard

      for Judicial Review that a Memo-er orin this ease plaintiffmustrely upon. The

      Opinion in King Versus Blue Cross Blue Shield the court, clearly cites a Federal

      Regulation, in this case, 29 C.F.R. 5 2520.102-2(b).


 8       [T]he SPD must explain the "circumstances which may result in disqualification,
 9       ineligibility, or denial or loss of benefits" in a manner "calculated to be understood
t0       by the average plan participant," and that information must be "sufficiently
1l       accurate and comprehensive to reasonably apprise" plan participants of their rights
t2       and obligations under the plan.18

l3       32.      ln Condry,       et al, v. UnitedHealth, et all (Case 17-cv-00183-VC, Northern

t4    District of California, the Court declined UnitedHealthcare's motion for summary

     judgement underRule 56; beeause'ithere is some evideaee tlratunitedHealthcare did

l6    not provide Carroll with appropriate information.


t7       33.      The US District Court, ND Illinois ruled in Briscoe et al. v. Health Care

r8    Sewice,s C.orp;   C.a;se   l{o. }6-cy-10294, 281 F. Sxpp. 3d 725 (2017), in deciding

t9    whether the plaintiffs' case can move forward that a plan provider cannot impose

      "significant administrative barriers"        .   Failing to appropriately direct and attemping to




                  17
                       Decided in Californa's 9m Circuit of Appeals, on September 8,2017
                  t8   In this case, the "SPD- is an acronym for a Member Handbook.
                                                          23
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        deceive a patient that there are no alternatives, and that this is a definitive and

        exhaustivercview, exploits the most vuluerable and underservedpopulation,.it does

        not "serve them".


         C. Failed to enclose correct due process and appeals procedures in Written and
                                          E   tectrortic eorresporderee

            34.      In no verbal, written, electronic or oral correspondence did CMS,

        UlHealth or any of their agents provide or even use the words "Department of Health

        and Hum'an Sensices"     ora "Form 95" to appropriatety      instr'uiet Ms. Clrronis in   frling a

        Malpractice Claim among a litany of items of dissatisfaction with the UlHealth Care

l0      System. Instead, they wrongly directed her to the Only Information in the Manual, in

1l      which nowhere inits entirety mentionedeithertheDepartment of Health md}lum.an

t2      Services nor CMS, or any Federal Government Agency. le


13          35.      CMS is the agency delegated oversight and enforcement responsibility

t4      overthe Medicaid MCO providers and they failedto'provide their Mandated oversi.ght

l5      over UIH Program as such, they are jointly and severally liable for failing to provide




                     re It is not for anyone outside of a process of discovery or deposition to infer the
     interpretation of Ms. Chronis' correspondence, it is very clear in the Member Handbook that was
     promulgated by UIH Health in tho relevant plan year, 2015 what their intention by thoir actions of
     Omission was in both concealing their status as a Federally Qualified Health Center and their
     Obligations under FTCA to disclose appropriate Tort Claim filing steps. One has only the
     obligation to consult the infonnation given to them not to do surreptitious research on
     Government affiliated web sites. FTCA does not mandate an Internet Research Project to provide
     information to a potential plaintitr
                                                     24
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      appropriate information in a) Obtaining a Fair Hearing for Reimbursement with the

      State of Illinois, b) frling a ctaim with theD'epartment of 'FIealth and Ftuman Services.


 3        36.       CMS lied when they claimed "they had logged my complainf' as required

 4    by Federal Law and Policy. However, in the Department of Justice's search of its

      databases in August 2017, they found that after a search of their databases "no

      complaint was logged', as certified by the Declaration of Meridith Torres lDkt7,#26-

      27.1.   CMS n€yer provide the eopy of the eomplaint on my behalflhat they elairnedto

 8    have logged as promised. As such, based on e-mailed exchanges, Ms. Chronis

 9    mistakenly believed that she had filed a viable administrative claim.


l0        37.       UIH Health and the Office of Professional Services of the State of Illinois

r1    engaged in Fraud by failing to disclose that Tamika Alexander M.D. et al, had been

t2    adjudicated as liable in the Death of a patient in in 2013 fRobert Green, Estate   of
13    Joyce Green v. Yvonne Collins, M.D. Advocate Christ Medical Center, Tamika

14    Alexander MD20 et al. While a Settlement in a wrongful death incident was made,

l5    oae does nsl,even.list the eomplaiut.on the StateD.atabase,    DL*IS, or if   any aetion or

l6    proceedings were taken.


t7                                    V. PRAYER FOR RELIEF'




                    20
                         2013 Jury Verdicts, Lexis 3345, Case Number: 2010-L-014283.
                                                   25
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          38.      Plaintiff, as a direct and legal result of the wrongful conduct and negligent

       of the defendant, suffered injury to her mind andbody, and requests damage under

       735 ILCS 5 total damages in the sum of $24,800 plus costs and interest.


           39.     Actual Damages. As     a further result of the negligence of the defendants,

       andeach ofthem, andtheresulting injuries toPl&intiff, Annia Clnonis, was compelled

 6     to, and did incur expenses for medical treatment. Proximate Cause of Injury can

 7     directly be traced to Doctor Tamika Alexander's actions and Negligence. The amount

       of'this care is curtently knounin the amount of$1;000.


 9         40.     Iramases for ['motional I)istress. As documented in the Expert Treating

l0     Physician's Medical Report, Exhibit I, ANNA CI{ROMS incurred emotional distress,

ll     anxiety, and mental anguish as the result of UIH Hospital's actions and inaction.

t2     $8,800. ANNA CHROMS' mental state is documented in the Treating Physician's

13.    report attaehed in Exhibit I, frsm a Medieal I.nstitutisn exterual.to UIJ Hospi.tal. The

L4     Medical report, is from an Examination dated July 1, 2015.


l5         41.     Punitive Damages. Delay of care, loss of wellness, incapacity to fully

l6     engage in nomral activities, dueto emoti.ouat distress c.onfrbutingto toss of enjoyment

17     of life, including sexual intercourse and potential physical intimacy during this time

t8     period as a result of the Injury caused by Tamika Alexander, MD. Damages $15,000.

t9     Atall poirrs subseque-nfto*he'Inciderq whictr l repored TIIFI-IIealth afidthetrsr,sfem

20     engaged in deliberate and systemic actions to cause mental anguish, delay of care and




                                                 26
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I       willfully   abandoned their duty to   teat, when ANNA CHRONIS, due to limitation of

z       options givenhier circumstanees, andtesources, hadnowhere elseto go


3                         VI.      CONCLUSION

4                     The Fact of the actions of all parties in the case at the UIH, and CMS,

s    since the malicious medical tort, onJune 8 2015 until the termination of    alt

6    corespondence in March 2016, a reasonable person would come to no other conclusion

z    but that there was a sustained and deliberate effort to hide adverse outcomes       of

r    matpr*cticemdgemeratpatient dissatisfactim. It isthe duty under tawfor the

 9   Executive and Administrative Agencies of the US Government to instruct claimants on

l0   appropriate policies, procedures and methods to obtain relief. Not one person either

rt   ve6a1ly, in any manual, or in any'correspondence mentionedDfHS, from 95 or anything

12   to that effect regarding this case. We cannot operate in a construct where we have to go

13   to court, to leam the rules, so we can then engage in another futile process, before going

Lq   backtocourt.


ls          The UIH Health Plus in action and in policies for Grievance settlement did not,

16   during the time frame in question, did not follow the policies and procedures mandated

17   under law for a "Federally Qualified Health Center", in an effort to deliberately

l8   dissuade and diminish Ms. Chronis', and more than likely other plan participate

rg   eomplaints,.while lt{s. Chronis wm a member of the [Il,Health progrmr from N4areh 2015

20   to December 31, 2015. However, the 7ft Courts of Appeals has affirmed the District

2t   Judges Ruling,    2-l,that it has the same Obligations to inform and to instruct according to

22   precedent, thattheDepartrnent of'F{ealth andHumanSer.rices beforwardedal1
                                                    27
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     complaints, and that an administrative process consistent with informing that Federal

     Agency can be 'Exhaustive" for any Medicaid Plan participant, whether under the

     ACA's Managed Care Program or any other FMAP program, thus the premise that

 4   UlHealth could serendipitously create an "alternative process" and consider that a final

 5   adjudication of a malpractice claim and request for reimbursement was struck down by

     the 7th Circuit of Appeals in Chronis v. USA.




10                                                   Dated this 21st Day of October, 2019.




                                                     Anna Chronis
                                                     Pro Se Litigant
                                                     3759 North New England Avenue
                                                     Chicago, Illinois 60634
                                                     Primary E-mail: anna.chronis@yahoo.com
                                                     Phone Number: (312) 838-6677


1l
12   Enclosures:
13

t4          Exhibit A:     District and Appeals Court Docket from Predecessor Cases,
15                         District Court Case 17-C5838, (Cook County Circuit Court Case
16                         Removed, but Open Pending Appeal, 30-1196) and Federal Appeal
l7                         Court Docket U7-030931

18          ExhibitB:      Opinion dated 8 Sepember 2Afi Dismissing Case without
19                         Prejudice
    Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 29 of 84 PageID #:29



I        Exhibit C:   Correspondence from DHHS documenting Administrative
2                     Exhaustion

3        Exhibit D:   Treating Physician Statement and Affidavit from Previously filed
4                     Malpractice Case with the State of Illinois

         ExhibitE:    Appeals Court Disposition

6       ExhibitF:     Three docurnents referenced in.the Third-Cause.of Aetion. .While
7                     not the totality of the correspondence and / or Manual, it is
8                     available for easy reference at this stage
I
Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 30 of 84 PageID #:30




    EXHI                                   ITA
       Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 31 of 84 PageID #:31


                                                                       APPEALJ(M.hdIDP"TERMED

                               United States Ilistrtct Court
             Northern District of ltlinois - CIWECF LM-, Ysr 6,3.1 (Qhicrgo)
                     CWILDOCKET FtrR CASE #: I:I7-cvilflffi


Chrouis v United States ofAmerica" et al                      Date Filed:Oilfi{Z0fi
Assignedto: HonsmbleAmyJ. St Eve                              Date Terminofsd: 09t08n0fi
Demand: $26,00S                                               'Jury-Dimantf: ffune
Case in other court: 17-03093                                 Nsture of $uit 352 Persoml Inj. lv1d"
                    Cook County Circuit CourL 2017-M1-        N{alpractice
                    301196                                    Jurisdiction: U.S. Gwe,tnment
Cause: 28; 133 1 Fed Questiou Medical ldalprastice            Defendant

Plaintitr
Anna Chrnnis                                represeirted   by Anna Chronir
                                                              3759 Nor& Nsw Fn€f,and Avemre
                                                              Chicago,IL 60634
                                                              3na38ffi77
                                                             -Ensif:
                                                                   auracironi,.{@yahoo.com
                                                              PRO SE


v.
Ilefendant
United States of America                   represented     by Scott Dennig Eefrron
                                                             Asst. United StatesAttorney
                                                             Northern Disrid of Illinois
                                                             219 S. Dearborn St
                                                             suiE 9046
                                                             Chirugo,It 60604
                                                             F.mai| : scot heffion@usdoj. gov
                                                             ATTORNW TO BE NOTICED
Ilefendant
Tamik*AMrltf;.F.
Ilefendaut
UIH-Mik Square Eeslth Center



05/$no18            oRDm. daEd 5/$n0fi &om the ?th circuit regardiog notice ofappel 2J ;
                    Appellate casa rro. : 17-3093; IT IS ORDERED that the motioas ari -
                    GRANTED. Attomey Brian J. PauI is grarted leaye to withdrawas copasel for
         Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 32 of 84 PageID #:32

                     appellaffAnne chronis. chronis is now proceeding pro se. rr IS FURITIER
                     ORDERED thar the govermrcrt shall fili *y *od* to dismiss as
                                                                                       moot or
                     *ftm t}e couit.&qI will not be fiiing umofioo bv i,f,ay ii, zoit.
                     (Entered:    A5n0n0$)               -                             [h, )
  04ls3ltt0t8        0RDER dated4l3/r}I8 from the ?th circuit regarding notice of appeat 2t
                                                                                                       ;
                    nvrrvr.r'w
                    Appellate r.4itg
                               ffise uu.     r r-JU)rJ; pursuant
                                     tro. :. 17-3093;   runiuam to      courts oido
                                                                   ilus co,ntr
                                                                 m this              of lvlarah ze,Ei
                                                                               order orna"uif   26,2a19,
                    IT IS ORDERED that Brian J. PauI. FAEGRE BAKER DANIELS
                    Meridian street,Iadianapolis,IN 46204,is appointedto *pr*s"otpLioiir-- "
                                                                                              T,I-d. aoo N.
                                                                                                         -

                    appellant Anna chronis. counsel is directed io contact tn"
                                                                                    iruiotir-upp*u*t
                    imndiatebr. Briefiqg shall procsad-cs f€*loqffi: L ff**g,rye"ff*tsn*ttL
                    her b.qief g{-rau,red shorr appe,udix on or before laly
                                                                            z,ioig. 2. Defendaut-
                    appellee shall file ia brief on orbeforeAugust l, 201[.
                                                                            L prui"ur-ure"fiu"i
                    :*Sif lg.trsptvbrief, if any. on arbefsiaqsorr r, mi*. fiL )6;kri,*
                    ut06n0rc)
  auaatzafi         cEE[rFIm         and tamaitted to &e u.sc* €pr thc 7th cke&it.ik hrryreroord
                                                                                                 on]
                    appeal   il   (uscA re. r?-3093) via E,u,,r. (ak,
                                                                      ) fsilrercd: u1i0?201-s)
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                    AI,ISIVER to Complaint and Cerffieate of Serttice by United Sfiltes               of
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                    United States removed this lawsuit &om the Circuit Court of Cook County,
                    Illinois, pfo se Plaintiffneed rot file an applicationto proceed ir forma
                    pauperis, thus ihe Cotrt denies po seHlaintiffs appflcfiiou ss m00(. 13 AIso,
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0812512817    l5 EXHIBIT by PtaintiffArlu Chrods (q$, ) (Fatffi& AU?1IZAL?)
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                    (Exhibit). (ags, ) Bntered: 0V25i2017)

aa23l2017     t') APPLICATION by PlaiutiffAnna Chrotris for                 leave to proceed in forma
                    pauperis (Exhibit) (ags, ) (Entered:       fiSn5fiAfi)
ou21/2017     ll    MINUTE enr{y before the HoaorableAmy J, St Eve: Plei$if having filed an
                    opposition to defendant's motion to dismiss ? , defendant's reply shatl be filed
                    W 9/6117. Ruling by mail. Statrs haring set for fiHl? at 8:30 am. No
                    appearance is required on the 8/22/17 notice motior d*e. Iv{ailed notise (kef, )
                    @nterd: ASDlDAfi)
oafinafi      10    NOTICE byAnna Chronis of Opposition to D€f,eudsafs motion to dismiss due
                    to failure to exhaust adminisEmive procedures. I Gxhibrts) (ags, ) (Entered:
                    a8t2112017)

08t17/2017     2 PRO SEAppeamnceby PlaintitrAxna Chronis (ags, ) (Entered: 08118/2017)
a&tutaafi      8    NOTIGE sf Motion by Scot Dennis Heftou for preser&eal of motion to
                    dismiss 7 before Honorable Amy J. St. Eve on 8122/2A17 at 08:30 AI{"
                    (Hefton, Scott) (ftrtered: 0&lnftAfi)
08ltu20t7      7    MOTION by Defendantunited States ofAmericato dismiss/orJbilwe to
                    exhoust administrotive remedies (Heffron, ScotQ pntered: OSlflDAln

08/1112017     6    kIAILED Notice ofRemovel letter to Plaiffitr (ags, ) {Entered:               O8lllE0l}
08lttnafi      5    NOTICE TO THE PARTIES - The Court is participating in the Mandatory
                    Initial Discovery Pilot (MIDP). The key features md deadtines are sst forth in
                    the attached Notice which includes the MIDP Standing Order. Also attaohedis a
                    chec,klist for use by the parties. In cases sribject to the pilot, aII parties must
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                    Order before initiatiry arry further discovery in this case. Please note: The
                    diseovery obliga*ions inthe S+asdiag O$der supersede tre disels$resre$lired
                    by Rule 26(a[1). Any party seeking affirm*ive relief must serve a copy of the
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                    is served. (ags, ) @ntered: AE/flnOn)
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a8,trcn}n           CASE ASSIGNED to the Honorable Amy J. St. Eve. Designated as lvlagistrate
                    Judge the Honorable )Ioung B. Kim. (nsf, ) (Entered: 0VrcD0fi)

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                     Scott) @ntered:    081   1012017)

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 Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 40 of 84 PageID #:40




                             Case Information Summary for Case Nrunber
                                              2017-M1-301196


                                                                          Case Type: PERSONAL
 Filing Date: 06/08DAfi                                                   INJURY(MEDICAL MAL
                                                                          PRACTICE)
 Division: Municipal Division                                             District: First Municipal
 AdDasnum: $25800.00                                                      Calendar:
                                              Partv Information

 PIetntifi(s)                                                             Attomey(s)
 CI{RONIS ANNA                                                            PRO SE


Defendant(s)                             Defendant Date of Service        Attorney(s)
ALE)(DANDERTAMIKA
UIH-MILES SQ HEALT                                                        ARNS]IEIN & LEHR
                                                                          161 N CLARK WaOO
                                                                          CHICAGO IL, 60601
                                                                          (312) 876-7rc0

                                                Case   Activity

Activity Date: O 6 I 08'DAll                                                    Participant:   CITRONIS ANNA
          PERSONAL INJURY(MEDICAL MAL.PRACTICE) COMPLAINT FILED

            CourtRoom: l50l
               CourtFee:368.00                                      Attonrey: PRO SE
 Ad Damnum Amount: 25800.00


Activity D'alfj: a6 I O8 I 2O 1 7                                           Participaat        CIIRONIS ANNA
                                    SUMMONS ISSUED AND RETURNABLE

                                                                   Attomey: PRO SE


Activity Dats: A6 / I   I 2Ol   7                                 Participaat    ALD(DANDER TAMIKA
      IF SERVED, FII.F              All APPEARANCE ON OR BEJ'ORE            @
                  Date:06/2912017
 Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 41 of 84 PageID #:41

 Acriviry Dar6: 06127 12017                                 Prticipant UIH-MILES SQ HEAUI

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                          Date: O7ll8l20l'l
               Court Time: 0930
                                                           Attorney: PROSE
                   Court Fee: 6.00

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 Activity   Date : 06 127 1201,7                                        Participant   CIIRONIS ANNA
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                   Court Fee: 6.00
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Activity    DaIe   : 061 27 /2017                                       Participanc   CIIRONIS ANNA
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                         Date: 07/18;t2017                Attomey: PRO SE


Activity Date : A6/2712017                                              Participmt CHRONIS   ANNA
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                      Date: 07/18/201'7                   Attomey: PRO SE


Activiry    DarB   : 06/ 29 / 2017                      Participanr:    AL$(DANDER TAIV{IKA
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                      Datn:06/20/2517                                   -:>

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                      Date:   O7/lll20l7


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                   ALIAS SUMMONS RETLIRNED -N-S. REASON: NO CONIACT
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  Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 42 of 84 PageID #:42

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                                                                   Attorney: PRO SE



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 Activity   Date : O7 DA /      2017                                       Participant   CfmOMS ANNA
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                       Date: 07/31/2017
              CourtTime: 0845                                      Attorney: PRO SE
             CourtRoom: 1501


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               Court Time: 0930
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                   Court Fee: 6.00
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                      Datc: 08/&4t201?                             Attorney: PRO SE


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  Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 43 of 84 PageID #:43
                                                                       Judse: S-Cfif{EIDE& CATIIEEhIE
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Activity D    ate: 08 I 02 I 20     17                             Participant   ALDOANDER TAMIKA
                       ALIAS SUNA{ONS RETU-RIED -N.S. REASON:NO CONTACT
                         Date: O8/02/2017



 Activity   Date   :   081 04 I   2017                               Participanr      UIH-MILES SQ HEAf,f
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                                                                    Attomey: ARNSTEIN & LEIIR


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                                                                    Attorney: PRO SE


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ActivityDate       :0AA4DAfi                                                 Participant    CHRONIS ANNA
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                        Date: O8/151201'1
             Court Time: 0845                                       Attomey: PRO SE
            Court Room: 1501



Activity Date: 08/04 12017                                                   Participant    CHRONIS ANNA
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                                                                   Attorney: PRO SE


Activity   Date : 08 I M 120        t7                              Participant     UIH-MILES SQ HEAUI
   Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 44 of 84 PageID #:44
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  Activity    Date : 08 / I           5I   2017                                        Partioipanr    WACHOWSKI JOE
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                                                                                  Judge: SCHNEIDEB, CAIIIERINE
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  Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 45 of 84 PageID #:45
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                                                               Attorney: FIYINK & SCAI$FIICCHIO
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Activity    Date : 03 / | 6 /   2018                                    Pilticipant CIIRONIS    ANNA
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                      DaG: 04118/2018                             Judge: SCHNEIDER, CATI{ERINE
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Activity   Date : 03 I 19    l20l 8                                     Participanc    CHROMS ANNA
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                                                               Attorney: PRO SE


Activity   Date : 03 I | 9 I 2A   I8                            Participanr   UIH-MILES SQ HEALI
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                                                               Atorney: ARNSTEIN & LEIIR


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         Claim No.    20t84osz-
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  gERTIFIE,D.RETURN
  nEcErPr REOITESTED
  Itds. Anna Chronis
  3759 Norttr New England Avenue
  Chicago,   IL   60634

  Re:
            Claim No.2018-0052

  ,Dear L,!s.,ebronisl

  On October 30,2017, you filed an administrative tort claim
                                                             under the Federal Tort Claims Act
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  The Federal Tort Claims Act authorizes the settlement
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                                              William A. Biglow
                                             Deputy Associate General Counsel
                                             Claims nnd Emploment Law Bransh
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CLAIMNO.2018-0052


To WhomltMay Concern:

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Litigrtion Summary


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Reconsideration of Ey claim in ths Amormt of $25'800




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A!ilaChronis
3?59 Nuft Naw Englamd Avmue
Chicago, Illinois 60634
E m*il: anna.chrfi{s(AYahoo.com
Phme: (3\2)8385677
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        Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 64 of 84 PageID #:64
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  L{s. Anns Chrorf$
  3759 North lrlew England Avenue
  ehisrup,  [,OW?4

 Re                                                                  Claim No. 20tB-0052
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If you are dissatuLtred with this detemination, you          are emi'tledto:

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              Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 65 of 84 PageID #:65

       Ldg.   AnnaChionis
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              Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 66 of 84 PageID #:66


    !E: Question reg.arding Administrative Appeals Procedures - Case ag1g-
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    To:       annadronis@yahoo.om
    Date: . WEdnesday, April 24, Zelg,1ZZ3PM CDf



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       Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 68 of 84 PageID #:68

                DEPARTMENT OF IIEALTH & IIUMAI\I SERVICES
                                                                                   Offics of the General Counsel
                                                                      General Law DivisionlGenerai i,aw Division
                                                                                                    Claims Offrce
                                                                                               330 C Sf€et, S.W.
                                                                                     Switrer Building Suite 2600
                                                                                        Washington, D.C.20201
                                                                                              Ph: (202) 69t-2395
                                                                                             For: (202) 691-2035

 Date:              ocT 3     i ,,i5
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           ^rrrr!
 (Article No. 7016 1370 0001 3674 SG}t)

 Ms. Anna Chronis
 3759 North New England Avenue
 Chicago, fr-60634

 Re:         Administrative Tort claim of Antra chronis, claim No. 20lg-0052

 Dear Ms. Chronis:

On October 30,2A17, you filed an admirisfative tort claim fftder the Federal Tort
                                                                                                Claims Act
("FTCA"),28 U.S.C. $$ l3a6(a),2401(b), 2671-80,a11eging inter alia,that, on June
                                                                                                   8, 2015,
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Illinois, provided negligent medical care and treatment during a routine annual physical,
                                                                                                      which
included apap smear/[IPV screening, resulting in you qutrering a rnrlvar
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The FTCA authorizes the settlement of any claim of money damages
                                                                       against the United States
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employees ofthe Federd Govemmenf while u"ti"g within theicope
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FTCA, said act or omission must be such that the United States, if a privatapersou,
                                                                                      would be
Iiable to the claimant in accordance with the law of the place where the
                                                                         act er ot+iss1gn sceurred.
28 U.S.C. S 2672.

This letter constitutes the notice of final determination of your adminishative
                                                                                  tort claimn &s
l"quit$ by 28U.S.C. $$ 2401(b)                    ,iili(").
                                                 The administrative tort claim of Anna Chronis is
denied.

If you are dissatisfied with this determiuation, you are entitled to:

           1.         file a unitten request with the agensy for reconsideration of the
                      final determination denying the claim lvithin six (6) months from the
                      date of mailing of this deterrrination (2g C.F.R. f+.g); o,
                                                                        $
           2'        file suit against the United States in the appropriate federal district court within
                     six (6) months from the date of mailing olthis determination (28 U.S.C. g
                     2401(b)).
    Case: 1:19-cv-06909 Document #: 1 Filed: 10/21/19 Page 69 of 84 PageID #:69

Mr AmaChrotris
Re: Claim No, 2018-fi)52
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    EXHIBIT D
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 Demographics
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 Contad                              3759 N New England, Chicago, lL 80634, Ph. tet+1-773-7ffi17                &

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    UNITED STATES COURT OF APFEALS


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                                        NOTICE OT ISSUANCE OF MANDATE

  September 20,2079


Ts:            ThomasG.Bmton
               IJNITED STATES DISTRICT COUBT
               Northem District of Illinois
               Chicago,IL 60fl+00m



                                            ANNA GIRONIS,
                                            Plaintiff - Appellant

                                            v.

                                            UNMED STATES OF AMEBICA,


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   Disfri€t Court No: 1:1,7-cv{5838
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 certified. copy of the opinion/order of the coutt and
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 costs shall constitute the mandate.


   RECORD ON APPEAL STATLIS:                                        No record tobe refurned




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  Or you can file your grievance online at
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